           Case 2:11-cr-00108-EFS                 ECF No. 240                filed 02/10/12              PageID.627 Page 1 of 1
O PS 8
(12/04)


                                 UNITED STATES DISTRICT COURT
                                                                      «15041»
                                                                           for
                                                  Eastern District of Washington


 U.S.A. vs.                         Renee Gomez                                            Docket No.                   2:11CR00108-003


                                    Petition for Action on Conditions of Pretrial Release

        COMES NOW Curtis G. Hare, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Renee Gomez who was placed under pretrial release supervision by the Honorable Cynthia Imbrogno sitting
in the Court at Spokane, WA, on the 5th day of August 2011, under the following conditions:

Special Condition: No gang associations or activities.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                         (If short insert here; if lengthy write on separate sheet and attach.)
Vio lation No . 1: Renee Gomez is considered in violation of her pretrial supervision in the Eastern District of Washington by
assoc iating with known gang mem bers o n Feb ruary 4 , 201 2.

                               PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                                              I declare under penalty of perjury that
                                                                                              the foregoing is true and correct.
                                                                                              Executed on:            2/10/2012
                                                                                     by       s/Curtis G. Hare
                                                                                              Curtis G. Hare
                                                                                              U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]     The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ ]      Other
                                                                                                                 

                                                                                                 Signature of Judicial Officer

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                                                                                                 Date
